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                                                                                                                                            Cottrt
                                                                                                       Filed in U.S. Baltkrutv_c-,
                                                                                                               Atlanta. i •ia
 Fill in this information to identify your case:
                                                                                                      I.  M. Regina,T1),,,,,,,;,
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF GEORGIA
                                                                                                                                 6 2121 t 2:4
 Case number (if known):                                          Chapter you are filing under:
                                                                 El Chapter 7                                            Deputy
                                                                 O Chapter 11
                                      7                          O Chapter 12

             1-                                                  Ei Chapter 13                                           O     Check if this is an
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                04/20

The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                          About Debtor 1:                                         About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                          Henry
     government-issued picture            First Name                                              First Name
     identification (for example,
     your driver's license or             J.
                                          Middle Name                                             Middle Name
     passport).
                                          Coleman
     Bring your picture                   Last Name                                               Last Name
     identification to your meeting       Jr.
     with the trustee.                    Suffix (Sr., Jr., 11, III)                              Suffix (Sr., Jr., 11, Ill)

2.   All other names you
     have used in the last 8              First Name                                              First Name
     years
                                          Middle Name                                             Middle Name
     Include your married or
     maiden names.                        Last Name                                               Last Name


3.   Only the last 4 digits of
                                          xxx — xx —                   1     6       2        8
     your Social Security
     number or federal                    OR
     Individual Taxpayer
     Identification number                9xx — xx —
     (ITIN)




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                               page 1
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Debtor 1     Henry J.,Coleman, Jr.                                                        Case number (if known)

                                     About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                      I have not used any business names or EINs.      El I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in          Business name                                            Business name
     the last 8 years
                                     Business name                                            Business name
     Include trade names and
     doing business as names
                                     Business name                                            Business name


                                     EIN                                                      EIN


                                     EIN                                                      EIN
5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                     3000 Windy Hill Rd SE
                                     Number Street                                            Number      Street
                                     Ste. 674515




                                     Marietta                     GA       30006
                                     City                         State    ZIP Code           City                           State    ZIP Code
                                     Cobb
                                     County                                                   County

                                     If your mailing address is different from                If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the            from yours, fill it in here. Note that the court
                                     court will send any notices to you at this               will send any notices to you at this mailing
                                     mailing address.                                         address.



                                     Number      Street                                       Number      Street


                                     P.O. Box                                                 P.O. Box


                                     City                         State    ZIP Code           City                           State    ZIP Code


6.   Why you are choosing            Check one:                                               Check one:
     this district to file for
     bankruptcy                      121 Over the last 180 days before filing this                   Over the last 180 days before filing this
                                         petition, I have lived in this district longer              petition, I have lived in this district longer
                                         than in any other district.                                 than in any other district.

                                     1:1 I have another reason. Explain.                      ID I have another reason. Explain.
                                         (See 28 U.S.C. § 1408.)                                 (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                       Er Chapter 7

                                            Chapter 11

                                 0          Chapter 12

                                 0          Chapter 13



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Debtor 1    Henry J. Coleman, Jr.                                                 Case number (if known)

8.   How you will pay the fee   El I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                   court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                   pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                   behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                El I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                   Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                El I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                   than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                   fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                   Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for         •    No
     bankruptcy within the
     last 8 years?              o    Yes.

                                District                                              When                    Case number
                                                                                             MM / DD / YYYY
                                District                                              When                    Case number
                                                                                             MM/DD/YWY
                                District                                              When                    Case number
                                                                                             MM/DD/YWY

10. Are any bankruptcy          I21 No
    cases pending or being
    filed by a spouse who is    El Yes.
    not filing this case with
                                Debtor                                                            Relationship to you
    you, or by a business
    partner, or by an           District                                              When                    Case number,
    affiliate?                                                                               MM / DD / YYYY   if known


                                Debtor                                                            Relationship to you

                                District                                              When                    Case number,
                                                                                             MM / DD / YYYY   if known

11. Do you rent your            0    No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                            El No. Go to line 12.
                                            El Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                               and file it as part of this bankruptcy petition.




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                        page 3
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Debtor 1     Henry J. Coleman, Jr.                                                      Case number (if known)


 Part 3:       Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor         Et No. Go to Part 4.
    of any full- or part-time         O   Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                 Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                    City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                 Check the appropriate box to describe your business:
    to this petition.
                                                 El Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 O      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 O      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 O      None of the above

13. Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                 choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and              are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business          most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    debtor or a debtor as             or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    defined by 11 U.S.C.
    § 1182(1)?                        Er No.     I am not filing under Chapter 11.
     For a definition of small
                                      O    NO.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     business debtor, see
                                                 the Bankruptcy Code.
     11 U.S.C. § 101(51D).
                                      O    Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                      O    Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.


  Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                 No
    property that poses or is              Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                       If immediate attention is needed, why is it needed?
    immediate attention?

     For example, do you own
     perishable goods, or
     livestock that must be fed, or               Where is the property?
                                                                            Number   Street
     a building that needs urgent
     repairs?



                                                                            City                                      State        ZIP Code




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Debtor 1    Henry J. Coleman, Jr.                                                        Case number (if known)


 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a         El I received a briefing from an approved credit             El I received a briefing from an approved credit
    briefing about             counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                     filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.                certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                            El I received a briefing from an approved credit             0 I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I              counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have           filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,    0 I certify that I asked for credit counseling               0 I certify that I asked for credit counseling
    you are not eligible      services from an approved agency, but was                    services from an approved agency, but was
    to file.                  unable to obtain those services during the 7                 unable to obtain those services during the 7
                              days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,       circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can             waiver of the requirement.                                   waiver of the requirement
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                            0 I am not required to receive a briefing about              0 I am not required to receive a briefing about
                              credit counseling because of:                                credit counseling because of:

                               o Incapacity.      I have a mental illness or a mental
                                                  deficiency that makes me
                                                                                            El Incapacity.     I have a mental illness or a mental
                                                                                                               deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                               El Disability.     My physical disability causes me          El Disability.     My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the Internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                               El Active duty. I am currently on active military            El Active duty. I am currently on active military
                                               duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.

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Debtor 1    Henry J. Coleman, Jr.                                                      Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes

16. What kind of debts do you      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                               as "incurred by an individual primarily for a personal, family, or household purpose."
                                        o     No. Go to line 16b.
                                         RI Yes. Go to line 17.

                                   16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                        money for a business or investment or through the operation of the business or investment.
                                         0      No. Go to line 16c.
                                         Ei     Yes. Go to line 17.

                                   16c. State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                     El No.       I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after         Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                  administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                     Er   No
    are paid that funds will be                 El Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do               1-49                          o 1,000-5,000                     o   25,001-50,000
    you estimate that you               50-99                         o 5,001-10,000                    o   50,001-100,000
    owe?                                100-199                       o 10,001-25,000                   o   More than 100,000
                                        200-999

14. How much do you                     $0-$50,000                         $1,000,001-$10 million           $500,000,001-$1 billion
    estimate your assets to             $50,001-$100,000                   $10,000,001-$50 million          $1,000,000,001-$10 billion
    be worth?                           $100,001-$500,000                  $50,000,001-$100 million         $10,000,000,001-$50 billion
                                                                      0
                                        $500,001-$1 million                $100,000,001-$500 million        More than $50 billion

15. How much do you                     $0-$50,000                         $1,000,001-$10 million           $500,000,001-$1 billion
    estimate your liabilities to        $50,001-$100,000                   $10,000,001-$50 million          $1,000,000,001-$10 billion
                                                                      0
    be?                                 $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                        $500,001-$1 million                $100,000,001-$500 million            More than $50 billion




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Debtor 1    Henry J. Coleman, Jr.                                                   Case number (if known)


 Part 7:      Sign Below

For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341,1519, and 3571.




                                X /s/ Henry J. Coleman, Jr.                                 X
                                  Henry J. Coleman, Jr., Debtor 1                               Signature of Debtor 2

                                    Executed on 01/21/2021                                      Executed on
                                                MM / DD / YYYY                                                MM / DD / YYYY




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Debtor 1     Henry J. Coleman, Jr.                                                     Case number (if known)

For you if you are filing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you should
bankruptcy without an            understand that many people find it extremely difficult to represent themselves
attorney                         successfully. Because bankruptcy has long-term financial and legal consequences, you are
                                 strongly urged to hire a qualified attorney.
If you are represented by an
attorney, you do not need to     To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical,
file this page.                  and a mistake or inaction may affect your rights. For example, your case may be dismissed because you
                                 did not file a required document, pay a fee on time, attend a meeting or hearing, or cooperate with the
                                 court, case trustee, U.S. trustee, bankruptcy administrator, or audit firm if your case is selected for audit.
                                 If that happens, you could lose your right to file another case, or you may lose protections, including the
                                 benefit of the automatic stay.

                                 You must list all your property and debts in the schedules that you are required to file with the court. Even
                                 if you plan to pay a particular debt outside of your bankruptcy, you must list that debt in your schedules. If
                                 you do not list a debt, the debt may not be discharged. If you do not list property or properly claim it as
                                 exempt, you may not be able to keep the property. The judge can also deny you a discharge of all your
                                 debts if you do something dishonest in your bankruptcy case, such as destroying or hiding property,
                                 falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if debtors have
                                 been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
                                 imprisoned.

                                 If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an
                                 attorney. The court will not treat you differently because you are filing for yourself. To be successful,
                                 you must be familiar with the United States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
                                 and the local rules of the court in which your case is filed. You must also be familiar with any state
                                 exemption laws that apply.

                                 Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                 consequences?

                                 El No
                                 lEi Yes

                                 Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate
                                 or incomplete, you could be fined or imprisoned?

                                     El No
                                     ▪    Yes

                                 Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

                                     El No
                                     ▪    Yes. Name of Person Angela D. Forte
                                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature        (Official Form 119).

                                     By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I have
                                     read and understood this notice, and I am aware that filing a bankruptcy case without an attorney may
                                     cause me to lose my rights or property if I do not properly handle the case.




                                     X /s/ Henry J. Coleman, Jr.                               X
                                       Henry J. Coleman, Jr., Debtor 1                             Signature of Debtor 2

                                         Date 01/21/2021                                           Date
                                              MM! DD / YYYY                                               MM / DD / YYYY

                                         Contact phone                                             Contact phone

                                         Cell phone                                                Cell phone

                                         Email address                                             Email address




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 Fill in this information to identify your case:
 Debtor 1           Henry                J.                     Coleman, Jr.
                    First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                           O   Check if this is an
                                                                                                               amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
     121 Married
     El Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
     121 No
     El Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
     IA No
     El Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1      Henry J. Coleman, Jr.                                                    Case number (if known)

 Part 2:        Explain the Sources of Your Income

4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     0 No
     121 Yes. Fill in the details.

                                                 Debtorl                                           Debtor 2

                                                Sources of income         Gross income           Sources of income          Gross income
                                                Check all that apply.     (before deductions     Check all that apply.      (before deductions
                                                                          and exclusions                                    and exclusions

From January 1 of the current year until        El Wages, commissions,                            O Wages, commissions,
the date you filed for bankruptcy:                 bonuses, tips                                    bonuses, tips
                                                   Operating a business                          El Operating a business


For the last calendar year:                        Wages, commissions,             $49,904.53        Wages, commissions,
                                                   bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2020 )                                                                 O Operating a business
                           YYYY                 El Operating a business


For the calendar year before that:              IZIWages, commissions,             $39,000.00 0 Wages, commissions,
                                                   bonuses, tips                                bonuses, tips
(January 1 to December 31, 2019 )                                                                 0 Operating a business
                           YYYY                 0 Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
     0     Yes. Fill in the details.




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Debtor 1         Henry J. Coleman, Jr.                                                       Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor l's or Debtor 2's debts primarily consumer debts?

       0   No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                  0    No. Go to line 7.

                  EI   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   " Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

       121 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                  ID Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                          Also, do not include payments to an attorney for this bankruptcy case.

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.


       IZ No
       El Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
       0   Yes. List all payments that benefited an insider.

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
       0   Yes. Fill in the details.




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Debtor 1      Henry J. Coleman, Jr.                                                      Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

    121 No. Go to line 11.
    0 Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

     IA No
     O Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

     121 No
     O Yes

 Part 5:       List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     lEi No
         Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


     RI No
     El Yes. Fill in the details for each gift or contribution.

 Part 6:        List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

     1E1 No
     O Yes. Fill in the details.




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Debtor 1       Henry J. Coleman, Jr.                                                     Case number (if known)

 Part 7:         List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

       El No
       lEr Yes. Fill in the details.

                                                    Description and value of any property transferred        Date payment        Amount of
                                                                                                             or transfer was     payment
Angela D. Forte
Person Who Was Paid
                                                                                                             made

POB 477                                                                                                           12/2020             $300.00
Number      Street




Redan                         Ga       30074
City                          State    ZIP Code

pUrdarICOnCeptS@gMail.COM
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
       El Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


       lEr No
       El Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
       IA No
       El Yes. Fill in the details.




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Debtor 1        Henry J. Coleman, Jr.                                                   Case number (if known)


    Part 8:      List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

       1E1 No
       El Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

       1E1 No
       El Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    El No
    El Yes. Fill in the details.

    Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

        2  No
        El Yes. Fill in the details.


    Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

•     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.
•     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.

•     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

        121 No
            Yes. Fill in the details.




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Debtor 1       Henry J. Coleman, Jr.                                                           Case number (if known)

25. Have you notified any governmental unit of any release of hazardous material?
    El No
    O Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

    IZI No
    D   Yes. Fill in the details.

 Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

           O    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           O    A member of a limited liability company (LLC) or limited liability partnership (LLP)
           O    A partner in a partnership
           O    An officer, director, or managing executive of a corporation
           O    An owner of at least 5% of the voting or equity securities of a corporation

    ▪      No. None of the above applies. Go to Part 12.
    0      Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

    El No
    El Yes. Fill in the details below.

 Part 12:        Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X Is/ Henry J. Coleman, Jr.                                  X
  Henry J. Coleman, Jr., Debtor 1                                Signature of Debtor 2

   Date        01/21/2021                                        Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

El No
0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

El No
El Yes. Name of person          Angela D. Forte                                                       Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                      Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case and this filing:
 Debtor 1            Henry                J.                      Coleman, Jr.
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                    El Check if this is an
 (if known)
                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
       IZI No. Go to Part 2.
       El Yes. Where is the property?

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here
                                                                                                                                            $0.00


 Part 2:         Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
       12I Yes

3.1.                                             Who has an interest in the property?             Do not deduct secured claims or exemptions. Put the
Make:                    Toyota                  Check one.                                       amount of any secured claims on Schedule D:
                                                                                                  Creditors Who Have Claims Secured by Property.
Model:                   Camry                   12I Debtor 1 only
                                                 El Debtor 2 only                                 Current value of the       Current value of the
Year:                    2008                                                                     entire property?           portion you own?
                                                 El Debtor 1 and Debtor 2 only
Approximate mileage: 180,000                     0      At least one of the debtors and another               $4,500.00                  $4,500.00
Other information:
2008 Toyota Camry (approx. 180,000                      Check if this is community property
miles)                                                  (see instructions)




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Debtor 1         Henry J. Coleman, Jr.                                                     Case number (if known)


4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
     lEr No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                               $4,500.00
     entries for pages you have attached for Part 2. Write that number here


 Part 3:          Describe Your Personal and Household Items

                                                                                                                     Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                    portion you own?
                                                                                                                     Do not deduct secured
                                                                                                                     claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     0     No
           Yes. Describe      household goods and furnishings                                                                  $4,000.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
     Ei    No
           Yes. Describe      TVs                                                                                                $500.00


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     121 No
     0     Yes. Describe


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
     10 No
     0     Yes. Describe


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
     0     Yes. Describe


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     0N0
           Yes. Describe     clothing                                                                                             $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
     Er No
     O Yes. Describe




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Debtor 1      Henry J. Coleman, Jr.                                                     Case number (if known)

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    0 No
           Yes. Describe


14. Any other personal and household items you did not already list, including any health aids you
    did not list
    Er No
    ▪ Yes. Give specific
       information


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                   4              $5,000.00
    attached for Part 3. Write the number here

 Part 4:         Describe Your Financial Assets

                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?                                             portion you own?
                                                                                                                        Do not deduct secured
                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
     10 No
     El Yes                                                                                       Cash:

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.
     0     No
     ▪     Yes                             Institution name:

            17.1.   Checking account:      Checking account with Wells Fargo Bank                                                  $1,000.00

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
     ID Yes                       Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
     El No
     El Yes. Give specific
        information about
        them                      Name of entity:                                                     % of ownership:




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Debtor 1      Henry J. Coleman, Jr.                                                      Case number (if known)

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    El No
     flYes. Give specific
       information about
       them                         Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
    El No
    p  Yes. List each
       account separately.       Type of account:      Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
    EI No
    El Yes                                          Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
    121 No
    •   Yes                      Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     gi No
    o Yes                        Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
     o     Yes. Give specific
           information about them
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     121' No
     0 Yes. Give specific
          information about them
27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     121 No
     o Yes. Give specific
         information about them
Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

28. Tax refunds owed to you

     El No
     D Yes.      Give specific information                                                                           Federal:
           about them, including whether
           you already filed the returns                                                                             State:
           and the tax years                                                                                         Local:




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Debtor 1       Henry J. Coleman, Jr.                                                        Case number (if known)


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     121 No
     O Yes. Give specific information                                                                     Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
     121 No
     O Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (NSA); credit, homeowner's, or renter's insurance
     121 No
     O Yes. Name the insurance
         company of each policy
         and list its value              Company name:                                   Beneficiary:                        Surrender or refund value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
     121 No
     0     Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     121 No
     0 Yes. Describe each claim


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
     El No
     •  Yes. Describe each claim


35. Any financial assets you did not already list

     121 No
     ▪     Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here                                                                          4                  $1,000.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

     12I No. Go to Part 6.
     O Yes. Go to line 38.




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Debtor 1    Henry J. Coleman, Jr.                                                    Case number (if known)

                                                                                                                   Current value of the
                                                                                                                   portion you own?
                                                                                                                   Do not deduct secured
                                                                                                                   claims or exemptions.
38. Accounts receivable or commissions you already earned

    RI No
    El Yes. Describe..


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
    WI No
    El Yes. Describe..


40. Machinery, fixtures equipment, supplies you use in business, and tools of your trade

    IZI No
    El Yes. Describe..


41. Inventory

       No
    El Yes. Describe..


42. Interests in partnerships or joint ventures

    121 No
    El Yes. Describe           Name of entity:                                                   % of ownership:

43. Customer lists, mailing lists, or other compilations

       No
    El Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            El No
            El Yes. Describe....


44. Any business-related property you did not already list

    IA No
    El Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here                                                                                   $0.00


 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

     121 No. Go to Part 7.
    D    Yes. Go to line 47.




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Debtor 1      Henry J. Coleman, Jr.                                                   Case number (if known)

                                                                                                                   Current value of the
                                                                                                                   portion you own?
                                                                                                                   Do not deduct secured
                                                                                                                   claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
    ▪ No
    El Yes....


48. Crops--either growing or harvested

    RE     No
     ▪     Yes. Give specific
           information
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

     ▪ No
     El Yes....


50. Farm and fishing supplies, chemicals, and feed

     10 No
        Yes....


51. Any farm- and commercial fishing-related property you did not already list

     RI No
     ▪ Yes. Give specific
        information
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here                                                                                   $0.00

 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     IRI• No
     El Yes. Give specific information.

54. Add the dollar value of all of your entries from Part 7. Write that number here                            4                  $0.00




Official Form 106A/B                                      Schedule A/B: Property                                                   page 7
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Debtor 1     Henry J. Coleman, Jr.                                                   Case number (if known)


 Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2                                                                            4            $0.00

56. Part 2: Total vehicles, line 5                                             $4,500.00

57. Part 3: Total personal and household items, line 15                        $5,000.00

58. Part 4: Total financial assets, line 36                                    $1,000.00

59. Part 5: Total business-related property, line 45                                 $0.00

60. Part 6: Total farm- and fishing-related property, line 52                        $0.00

61. Part 7: Total other property not listed, line 54                    +            $0.00

                                                                                              Copy personal
62. Total personal property.     Add lines 56 through 61                      $10,500.00      property total 4       +   $10,500.00



63. Total of all property on Schedule A/B.      Add line 55 + line 62                                                    $10,500.00




Official Form 106A/B                                        Schedule A/B: Property                                              page 8
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 Fill in this information to identify your case:
 Debtor 1            Henry                J.                     Coleman, Jr.
                     First Name           middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA                                           El Check if this is an
                                                                                                                   amended filing
 Case number
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
     El You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
     El You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                 Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     RI No
     El Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        El No
            El Yes


Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                page 1
            Case 21-50792-jwc                    Doc 1       Filed 01/26/21 Entered 01/29/21 14:14:39                                        Desc
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 Fill in this information to identify your case:
 Debtor 1             Henry                 J.                        Coleman, Jr.
                      First Name            Middle Name               Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name               Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                               Check if this is an
 (if known)
                                                                                                                           amended filing

Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.     Do any creditors have claims secured by your property?
       IZ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       El Yes. Fill in all of the information below.


 Part 1:          List All Secured Claims

2.     List all secured claims. If a creditor has more than one secured
       claim, list the creditor separately for each claim. If more than one                  Column A ,            I Column B              Column C
       creditor has a particular claim, list the other creditors in Part 2. As               Amount of claim       , Value of collateral   Unsecured
       much as possible, list the claims in alphabetical order according to the              Do not deduct the     1 that supports this    portion
       creditor's name.                                                                  I   value of collateral     claim                 If any

     2.1                                         Describe the property that
                                                 secures the claim:

Creditor's name

Number      Street

                                                 As of the date you file, the claim is: Check all that apply.
                                                 O     Contingent

City                    State ZIP Code
                                                  o    Unliquidated
                                                 El Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
O Debtor 1 only                                  El An agreement you made (such as mortgage or secured car loan)
El Debtor 2 only                                 El Statutory lien (such as tax lien, mechanic's lien)
El Debtor 1 and Debtor 2 only
                                                 I- 1 Judgment lien from a lawsuit
o      At least one of the debtors and another   — Other (including a right to offset)
                                                 :I
El Check if this claim relates
   to a community debt
Date debt was incurred                           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                         $0.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                                        $0.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                               page 1
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 Fill in this information to identify your case:
 Debtor 1              Henry                   J.                    Coleman, Jr.
                       First Name              Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name           Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                        o   Check if this is an
 (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:          List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
       El No. Go to Part 2.
       lEr Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                            _
                                                                                                    r Total claim   1 1 Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                 $1,600.00          $1,600.00                $0.00
Georgia Department of Revenue
                                                             Last 4 digits of account number
Priority Creditor's Name
1800 Century Blvd NE                                         When was the debt incurred?
Number         Street
                                                             As of the date you file, the claim is: Check all that apply.
                                                             o Contingent

Atlanta                     GA      30345                    o Unliquidated
                                                             El Disputed
City                        State   ZIP Code
Who incurred the debt?      Check one.                       Type of PRIORITY unsecured claim:
RI Debtor 1 only                                             El Domestic support obligations
o Debtor 2 only                                              ▪  Taxes and certain other debts you owe the government
o Debtor 1 and Debtor 2 only                                 Ei Claims for death or personal injury while you were
El At least one of the debtors and another                      intoxicated
                              a community debt
o Check if this claim is for                                    Other. Specify
Is the claim subject to offset?
12I No
o Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
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Debtor 1        Henry J. Coleman, Jr.                                                           Case number (if known)

 Part 2:           List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
       EI    No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $7,000.00
Ally Financial                                              Last 4 digits of account number
Nonpriority Creditor's Name                                 When was the debt incurred?
POB 380901
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                            o Contingent
                                                            o Unliquidated
                                                            O Disputed
Minneapolis                    MN       55438
City                            State  ZIP Code             Type of NONPRIORITY unsecured claim:
Who incurred the debt?          Check one.
                                                            D    Student loans
IZI Debtor 1 only                                           D    Obligations arising out of a separation agreement or divorce
o Debtor 2 only                                                  that you did not report as priority claims
fl  Debtor 1 and Debtor 2 only
                                                            o    Debts to pension or profit-sharing plans, and other similar debts
                               and another
o At least one of the debtors                               ▪    Other. Specify
D      Check if this claim is for a community debt               Account
Is the claim subject to offset?
12I No
o      Yes

     4.2                                                                                                                                          $1,100.00
Bank of America                                             Last 4 digits of account number
Nonpriority Creditor's Name                                 When was the debt incurred?
POB 982238
Number         Street                                       As of the date you file, the claim is: Check all that apply.
                                                             o Contingent
                                                             o Unliquidated
                                                             O Disputed
El Paso                         TX       79998
City                            State  ZIP Code             Type of NONPRIORITY unsecured claim:
Who incurred the debt?          Check one.
                                                                 Student loans
12I Debtor 1 only                                            o
                                                             o   Obligations arising out of a separation agreement or divorce
fl  Debtor 2 only
                                                                 that you did not report as priority claims
o Debtor 1 and Debtor 2 only                                 o   Debts to pension or profit-sharing plans, and other similar debts
                                  another
o At least one of the debtors and                            ▪   Other. Specify
D      Check if this claim is for a community debt               Account
Is the claim subject to offset?
WI No
o      Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 2
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Debtor 1       Henry J. Coleman, Jr.                                                      Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.
    4.3                                                                                                                             $1,200.00
Bortolazzo Group                                       Last 4 digits of account number
Nonpriority Creditor's Name                            When was the debt incurred?
POB 14099
Number       Street                                    As of the date you file, the claim is: Check all that apply.
                                                       p  Contingent
                                                        ▪ Unliquidated
                                                        O Disputed
Belfast                       ME     04915
City                          State  ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?        Check one.
                                                        El Student loans
1E1 Debtor 1 only
                                                        p   Obligations arising out of a separation agreement or divorce
o Debtor 2 only                                             that you did not report as priority claims
12 Debtor 1 and Debtor 2 only                           o Debts to pension or profit-sharing plans, and other similar debts
1=1 At least one of the debtors and another             1E1 Other. Specify
p      Check if this claim is for a community debt          Account
Is the claim subject to offset?
1E1 No
o Yes

    4.4                                                                                                                               $508.00
Medical Data Systems                                    Last 4 digits of account number
Nonpriority Creditor's Name                             When was the debt incurred?
2150 15th avenue
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                        O Contingent
                                                        o Unliquidated
                                                        o Disputed
Vero Beach                    FL     32960
City                          State  ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?        Check one.
                                                        El Student loans
lEr Debtor 1 only                                       o   Obligations arising out of a separation agreement or divorce
EI  Debtor 2 only                                           that you did not report as priority claims
o Debtor 1 and Debtor 2 only                                                     profit-sharing plans, and other similar debts
o At least one of the debtors and another               O Debts to pension or
                                                        1E1 Other. Specify
o Check if this claim is fora community debt                Kennestone Hospital
Is the claim subject to offset?
I21 No
o      Yes




 Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 3
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Debtor 1       Henry J. Coleman, Jr.                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.
    4.5                                                                                                                              $842.00
Merrick Bank                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
POB 9201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                         p Contingent
                                                         o Unliquidated
                                                         o Disputed
Old Bethpage                  NY      11804
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                         p   Student loans
I21 Debtor 1 only                                        o Obligations arising out of a separation agreement or divorce
▪ Debtor 2 only
                                                             that you did not report as priority claims
o Debtor 1 and Debtor 2 only
                                                         El Debts to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another                lEr Other. Specify
o      Check if this claim is for a community debt           Account
Is the claim subject to offset?
lE1 No
o Yes

    4.6                                                                                                                            $3,100.00
NC Financial                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
175W Jackson Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 1000                                               o Contingent
                                                         O Unliquidated
                                                         Ei Disputed
Chicago                       IL      60604
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
• Debtor 1 only                                          O Student loans
                                                         o Obligations arising out of a separation agreement or divorce
El Debtor 2 only                                            that you did not report as priority claims
o Debtor 1 and Debtor 2 only
                                                         o Debts to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another
                                                         ▪ Other. Specify
o      Check if this claim is for a community debt          Account
Is the claim subject to offset?
▪ No
o Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor 1       Henry J. Coleman, Jr.                                                      Case number (if known)

    Part 2:     Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.
    4.7                                                                                                                           $3,505.00
Plaza Services                                          Last 4 digits of account number      —    —    —    —
Nonpriority Creditors Name                              When was the debt incurred?
110 Hammond Drive
Number        Street                                    As of the date you file, the claim is: Check all that apply.
SUITE 110                                               El Contingent
                                                        El Unliquidated
                                                        El Disputed
Atlanta                     GA      30328
City                        State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        O Student loans
El Debtor 1 only                                        El Obligations arising out of a separation agreement or divorce
El Debtor 2 only                                           that you did not report as priority claims
El Debtor 1 and Debtor 2 only                           El Debts to pension or profit-sharing plans, and other similar debts
El At least one of the debtors and another                 Other. Specify
0     Check if this claim is for a community debt          Netcredit
Is the claim subject to offset?
121 No
El Yes

    4.8                                                                                                                           $1,100.00
Quantum Radiology                                       Last 4 digits of account number
Nonpriority Creditors Name                              When was the debt incurred?
POB 3157
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                        El Contingent
                                                        •  Unliquidated
                                                        El Disputed
Indianapolis                 IN      46206
City                         State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        O Student loans
El Debtor 1 only                                        El Obligations arising out of a separation agreement or divorce
El Debtor 2 only                                           that you did not report as priority claims
El Debtor 1 and Debtor 2 only
                                                        El Debts to pension or profit-sharing plans, and other similar debts
12I At least one of the debtors and another             El Other. Specify
El Check if this claim is for a community debt             Account
Is the claim subject to offset?
IEr No
El Yes




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
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Debtor 1      Henry J. Coleman, Jr.                                                      Case number (if known)

 Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim   I
previous page.
  4.9                                                                                                                           $13,000.00
SE Toyota Finance                                       Last 4 digits of account number
Nonpriority Creditors Name                              When was the debt incurred?
POB 91614
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                        El Contingent
                                                        El Unliquidated
                                                        El Disputed
Mobile                      AL      36691
City                        State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.                       El Student loans
▪ Debtor 1 only                                         El Obligations arising out of a separation agreement or divorce
o Debtor 2 only                                            that you did not report as priority claims
El Debtor 1 and Debtor 2 only                           El Debts to pension or profit-sharing plans, and other similar debts
12 At least one of the debtors and another              Er Other. Specify
El Check if this claim is for a community debt             Account
Is the claim subject to offset?
El No
El Yes

  4.10                                                                                                                            $3,200.00
Sedgefield Apartments                                   Last 4 digits of account number
Nonpriority Creditors Name                              When was the debt incurred?
1136 East Commons
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                        El Contingent
                                                        o Unliquidated
                                                        ▪ Disputed
Marietta                     GA      30062
City                         State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.                       El Student loans
El Debtor 1 only                                        El Obligations arising out of a separation agreement or divorce
El Debtor 2 only                                            that you did not report as priority claims
El Debtor 1 and Debtor 2 only                           El Debts to pension or profit-sharing plans, and other similar debts
121 At least one of the debtors and another
                                                        IZI Other. Specify
121 Check if this claim is for a community debt             Account
Is the claim subject to offset?
El No
El Yes




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
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Debtor 1       Henry J. Coleman, Jr.                                                     Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
                                                                                                                              1 Total claim
previous page.

  4.11                                                                                                                             $9,000.00
Welister                                               Last 4 digits of account number      —    —    —    —
Nonpriority Creditor's Name                            When was the debt incurred?
POB 3475
Number        Street                                   As of the date you file, the claim is: Check all that apply.
                                                       o Contingent
                                                       O Unliquidated
                                                       O Disputed
Toledo                      OH      43607
City                        State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                       El Student loans
El Debtor 1 only
                                                       o Obligations arising out of a separation agreement or divorce
El Debtor 2 only                                          that you did not report as priority claims
Ei   Debtor 1 and Debtor 2 only                        p  Debts to pension or profit-sharing plans, and other similar debts
IA At least one of the debtors and another             Er Other. Specify
RI Check if this claim is for a community debt            Account
Is the claim subject to offset?
E NO
El Yes




 Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 7
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Debtor 1       Henry J. Coleman, Jr.                                                    Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.



                                                                                                              Total claim

Total claims       6a. Domestic support obligations                                                   6a.                   $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.            $1,600.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                   $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d. +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.            $1,600.00




                                                                                                              Total claim

Total claims       6f.   Student loans                                                                6f.                   moo
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                   $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                   $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i. +         $43,555.00


                   6j.   Total.   Add lines 6f through 6i.                                            6j.           $43,555.00




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                           page 8
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 Fill in this information to identify your case:
 Debtor 1            Henry                J.                     Coleman, Jr.
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
     12I No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
     o    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease                  State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:

 Debtor 1               Henry             J.                      Coleman, Jr.
                        First Name        Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
                                                                                                                    El Check if this is an
 (if known)
                                                                                                                       amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.     Do you have any codebtors?      (If you are filing a joint case, do not list either spouse as a codebtor.)
            No
       17I Yes

2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
       include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       10 No. Go to line 3.
       p  Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            EI    No
                  Yes
3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
       person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
       creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
       Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

           Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                               Check all schedules that apply:

 3.1       Spouse Name Not Entered
                                                                                               El Schedule D, line
           Name

           Number       Street
                                                                                               p    Schedule E/F, line       4.8
                                                                                               ▪    Schedule G, line
                                                                                               Quantum Radiology
           City                                    State          ZIP Code

           Spouse Name Not Entered
 3.2
           Name                                                                                D    Schedule D, line

                                                                                               ▪    Schedule E/F, line      4.10
           Number       Street
                                                                                               ▪    Schedule G, line
                                                                                               Sedgefield Apartments
           City                                    State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                          page 1
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Debtor 1      Henry J. Coleman, Jr.                                       Case number (if known)


               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.3    Spouse Name Not Entered
       Name                                                                   El Schedule D, line

                                                                              IZI Schedule E/F, line     4.11
       Number        Street
                                                                              El Schedule G, line
                                                                              Welister
       City                             State        ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 2
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 Fill in this information to identify your case:
      Debtor 1              Henry                J.                    Coleman, Jr.
                            First Name           Middle Name           Last Name                    Check if this is:
      Debtor 2                                                                                      o    An amended filing
      (Spouse, if filing)   First Name           Middle Name           Last Name
                                                                                                    o    A supplement showing postpetition
      United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA
                                                                                                         chapter 13 income as of the following date:
      Case number
      (if known)
                                                                                                         MM / DD / YYYY

Official Form 1061
Schedule I: Your Income                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:           Describe Employment

1.     Fill in your employment
       information.                                            Debtor 1                                    Debtor 2 or non-filing spouse
       If you have more than one
       job, attach a separate page       Employment status     El Employed                                 El Employed
       with information about                                  0      Not employed                         El Not employed
       additional employers.
                                         Occupation
        Include part-time, seasonal,
        or self-employed work.           Employer's name       Inalfa Roof Systems

        Occupation may include           Employer's address
        student or homemaker, if it                            Number Street                               Number Street
        applies.




                                                               City                     State Zip Code     City                   State   Zip Code

                                         How long employed there?       1 month


     Part 2:       Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                             non-filing spouse

2.      List monthly gross wages, salary, and commissions (before all             2.        $2,149.68
        payroll deductions). If not paid monthly, calculate what the monthly wage
        would be.
3.      Estimate and list monthly overtime pay.                                    3. +          $0.00

4.      Calculate gross income. Add line 2 + line 3.                               4.       $2,149.68




Official Form 1061                                             Schedule I: Your Income                                                        page 1
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Debtor 1      Henry J. Coleman, Jr.                                                              Case number (if known)
                                                                                         For Debtor 1      For Debtor 2 or
                                                                                                           non-filing spouse
     Copy line 4 here                                                        4    4.         $2,149.68
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                            5a.          $369.16
     5b. Mandatory contributions for retirement plans                             5b.            $0.00
     5c. Voluntary contributions for retirement plans                             5c.            $0.00
     5d. Required repayments of retirement fund loans                             5d.            $0.00
     5e. Insurance                                                                5e.            $0.00
     5f.   Domestic support obligations                                           5f.            $0.00
     5g. Union dues                                                               5g.            $0.00
     5h. Other deductions.
         Specify:                                                                 5h.+           $0.00

6.   Add the payroll deductions.      Add lines 5a + 5b + 5c + 5d + 5e + 5f +     6.           $369.16
     5g + 5h.
7.   Calculate total monthly take-home pay.        Subtract line 6 from line 4.   7.         $1,780.52
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                     8a.            $0.00
         business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                   8b.            $0.00
     8c. Family support payments that you, a non-filing spouse, or a              8c.            $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                8d.            $0.00
     8e. Social Security                                                          8e.            $0.00
     8f.   Other government assistance that you regularly receive
           Include cash assistance and the value (if known) or any non-
           cash assistance that you receive, such as food stamps
           (benefits under the Supplemental Nutrition Assistance Program)
           or housing subsidies.
           Specify:                                                               8f.             $0.00
     8g. Pension or retirement income                                             8g.             $0.00
     8h. Other monthly income.
         Specify:                                                                 8h..i.          $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.       9.              $0.00


10. Calculate monthly income. Add line 7 + line 9.                             10.     $1,780.52                                        $1,780.52
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedu e J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                             11.   +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly             12.           $1,780.52
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                  Combined
                                                                                                                                    monthly income




Official Form 1061                                           Schedule I: Your Income                                                         page 2
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Debtor 1      Henry J. Coleman, Jr.                                                   Case number (if known)
13. Do you expect an increase or decrease within the year after you file this form?
    El No.                 None.
    0      Yes. Explain:




Official Form 1061                                       Schedule I: Your Income                                      page 3
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 Fill in this information to identify your case:
                                                                                                     Check if this is:
      Debtor 1              Henry                  J.                     Coleman, Jr.               El An amended filing
                            First Name             Middle Name            Last Name                  o  A supplement showing postpetition
                                                                                                        chapter 13 expenses as of the
      Debtor 2
      (Spouse, if filing)   First Name             Middle Name            Last Name                     following date:

      United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA                             MM / DD / YYYY
      Case number
      (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:           Describe Your Household
1.     Is this a joint case?

        El No. Go to line 2.
        p    Yes. Does Debtor 2 live in a separate household?
                     No
                   p Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.      Do you have dependents?          El No

       Do not list Debtor 1 and
                                         0      Yes. Fill out this information
                                                                                  Dependent's relationship to
                                                                                  Debtor 1 or Debtor 2
                                                                                                                   Dependent's
                                                                                                                   age
                                                                                                                                    Does dependent
                                                                                                                                    live with you?
                                                for each dependent
       Debtor 2.                                                                                                                    El No
                                                                                                                                    O Yes
        Do not state the dependents'
                                                                                                                                    O       NO
        names.
                                                                                                                                        0   Yes
                                                                                                                                    El No
                                                                                                                                        0
                                                                                                                                       Yes
                                                                                                                                    El No
                                                                                                                                    O Yes
                                                                                                                                    El No
                                                                                                                                    O Yes
3.      Do your expenses include                 El No
        expenses of people other than            El Yes
        yourself and your dependents?


     Part 2:       Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                   Your expenses

4.      The rental or home ownership expenses for your residence.                                                 4.                         $500.00
        Include first mortgage payments and any rent for the ground or lot.
        If not included in line 4:

        4a. Real estate taxes                                                                                     4a.

        4b. Property, homeowner's, or renter's insurance                                                          4b.

        4c. Home maintenance, repair, and upkeep expenses                                                         4c.

        4d. Homeowner's association or condominium dues                                                           4d.




     Official Form 106J                                          Schedule J: Your Expenses                                                        page 1
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Debtor 1        Henry J. Coleman, Jr.                                                           Case number (if known)

                                                                                                                   Your expenses


5.     Additional mortgage payments for your residence, such as home equity loans                            5.

6.     Utilities:

       6a. Electricity, heat, natural gas                                                                    6a.                     $150.00

       6b. Water, sewer, garbage collection                                                                  6b.

       6c. Telephone, cell phone, Internet, satellite, and                                                   Sc.
           cable services
       6d. Other. Specify:       cell                                                                        6d.                     $100.00

7.     Food and housekeeping supplies                                                                        7.                      $400.00

8.     Childcare and children's education costs                                                              8.

9.     Clothing, laundry, and dry cleaning                                                                   9.                      $150.00

10. Personal care products and services                                                                      10.                     $100.00

11. Medical and dental expenses                                                                              11.

12. Transportation. Include gas, maintenance, bus or train                                                   12.                     $150.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                            13.
    magazines, and books
14. Charitable contributions and religious donations                                                         14.

15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                    15a.

       15b. Health insurance                                                                                  15b.

       15c. Vehicle insurance                                                                                 15c.                   $150.00

       15d. Other insurance. Specify:                                                                         15d.

16. Taxes.          Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                               16.

17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                        17a.

       17b. Car payments for Vehicle 2                                                                        17b.

        17c. Other. Specify:                                                                                  17c.

        17d. Other. Specify:                                                                                  17d.

18. Your payments of alimony, maintenance, and support that you did not report as                             18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                                  19.




     Official Form 106J                                          Schedule J: Your Expenses                                                page 2
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Debtor 1    Henry J. Coleman, Jr.                                                             Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a. Mortgages on other property                                                                         20a.

    20b. Real estate taxes                                                                                   20b.

    20c. Property, homeowner's, or renter's insurance                                                        20c.

    20d.   Maintenance, repair, and upkeep expenses                                                          20d.

    20e.   Homeowner's association or condominium dues                                                       20e.

21. Other. Specify:                                                                                          21.

22. Calculate your monthly expenses.

    22a.   Add lines 4 through 21.                                                                           22a.       $1,700.00

    22b.   Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                  22b.

    22c. Add line 22a and 22b. The result is your monthly expenses.                                          22c.       $1,700.00


23. Calculate your monthly net income.

    23a.   Copy line 12 (your combined monthly income) from Schedule I.                                      23a.       $1,780.52

    23b.   Copy your monthly expenses from line 22c above.                                                   23b. -     $1,700.00

    23c. Subtract your monthly expenses from your monthly income.
         The result is your monthly net income.                                                              23c.         $80.52


24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

     IZI No.
     El Yes. Explain here:
             None.




  Official Form 106J                                       Schedule J: Your Expenses                                          page 3
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    Fill in this information to identify your case:
    Debtor 1            Henry               J.                      Coleman, Jr.
                        First Name          Middle Name             Last Name

    Debtor 2
    (Spouse, if filing) First Name          Middle Name             Last Name

    United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

    Case number                                                                                                       El Check if this is an
    (if known)
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                         12/15

If you are an individual filing under chapter 7, you must fill out this form if:

•     creditors have claims secured by your property, or

•     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


     Part 1:      List Your Creditors Who Hold Secured Claims

1.      For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
        fill in the information below.

        Identify the creditor and the property that is collateral         What do you intend to do with the    Did you claim the property
                                                                          property that secures a debt?        as exempt on Schedule C?

        None.



     Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                      Will this lease be assumed?

        None.




    Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                              page 1
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Debtor 1    Henry J. Coleman, Jr.                                                  Case number (if known)

 Part 3:      Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.



X /s/ Henry J. Coleman, Jr.                          X
  Henry J. Coleman, Jr., Debtor 1                        Signature of Debtor 2

   Date 01/21/2021                                       Date
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 2
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 Fill in this information to identify your case:
 Debtor 1            Henry                 J.                    Coleman, Jr.
                     First Name            Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name          Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                              O    Check if this is an
                                                                                                                   amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:        Summarize Your Assets

                                                                                                                            Your assets
                                                                                                                            Value of what you own
1.     Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                              $0.00
       la. Copy line 55, Total real estate, from Schedule NB


                                                                                                                                         $10,500.00
       lb. Copy line 62, Total personal property, from Schedule NB


       lc. Copy line 63, Total of all property on Schedule NB
                                                                                                                                         $10,500.00


 Part 2:         Summarize Your Liabilities

                                                                                                                             Your liabilities
                                                                                                                             Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                              $0.00
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                          $1,600.00
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F


                                                                                                                                         $43,555.00
       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F



                                                                                                  Your total liabilities                 $45,155.00




     Part 3:     Summarize Your Income and Expenses

4.     Schedule Your Income (Official Form 1061)
                                                                                                                                          $1,780.52
       Copy your combined monthly income from line 12 of Schedule I

5.     Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                          $1,700.00
       Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                  page 1
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Debtor 1      Henry J. Coleman, Jr.                                                        Case number (if known)


 Part 4:       Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

     El No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     121 Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
     0     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
                                                                                                                                    $2,149.68
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                               $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $1,600.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                             $0.00

     9d. Student loans. (Copy line 6f.)                                                                              $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                     $0.00
         priority claims. (Copy line 6g.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                          $0.00


     9g. Total.    Add lines 9a through 9f.                                                                     $1,600.00




Official Form 106Sum              Summary of Your Assets and Liabilities and Certain Statistical Information                               page 2
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 Fill in this information to identify your case:

 Debtor 1           Henry                J.                  Coleman, Jr.
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name         Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                            El Check if this is an
 (if known)
                                                                                                           amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15


If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

     El No

     WI Yes. Name of person       Angela D. Forte                                            Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




     Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
     true and correct




     X Is/ Henry J. Coleman, Jr.                           X
       Henry J. Coleman, Jr., Debtor 1                         Signature of Debtor 2

        Date 01/21/2021                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                        page 1
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 Fill in this information to identify the case:
 Debtor 1            Henry                 J.                      Coleman, Jr.
                     First Name            Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name             Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                             Chapter        7
 (if known)


Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                          12/16

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that
are filed in the case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 2. A
bankruptcy petition preparer who does not comply with the provisions of title 11 of the United States Code and the Federal
Rules of Bankruptcy Procedure may be fined, imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.



 Part 1:        Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any
documents for filing or accept any compensation. A signed copy of this form must be filed with any document prepared.


      Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

       •   whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

       •   whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

       •   whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

       •   whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;

       •   what tax consequences may arise because a case is filed under the Bankruptcy Code;

       •   whether any tax claims may be discharged;

       •   whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

       •   how to characterize the nature of your interests in property or your debts; or

       •   what procedures and rights apply in a bankruptcy case.


       The bankruptcy petition preparer                     Angela D. Forte                                          has notified me of
                                       Name
       any maximum allowable fee before preparing any document for filing or accepting any fee.



X /s/ Henry J. Coleman, Jr.                                                                 Date    01/21/2021
  Henry J. Coleman, Jr., Debtor 1, acknowledging receipt of this notice                            MM / DD / YYYY



X                                                                                           Date
    Signature of Debtor 2, acknowledging receipt of this notice                                    MM / DD / YYYY




Official Form 119                       Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                  page 1
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Debtor 1       Henry J. Coleman, Jr.                                                            Case number (if known)

    Part 2:      Declaration and Signature of the Bankruptcy Petition Preparer

Under penalty of perjury, I declare that:

NI I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

IN 1 or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
   Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and
•    If rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
     preparers may charge, 1 or my firm notified the debtor of the maximum amount before preparing any document for filing or before
     accepting any fee from the debtor.

     Angela D. Forte                          Petition Preparer
     Printed name                              Title, if any                         Firm name, if it applies
     POB 477
     Number       Street



     Redan                                   GA         30074                        404-955-1365
     City                                    State      ZIP Code                     Contact phone

I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I
check:
(Check all that apply.)

      Voluntary Petition (Form 101)              Er Schedule 1 (Form 1061)                           o       Chapter 11 Statement of Your Current Monthly
                                                                                                             Income (Form 122B)
      Statement About Your Social Security      121 Schedule J (Form 106J)
      Numbers (Form 121)                                                                             ▪       Chapter 13 Statement of Your Current Monthly
                                                     Declaration About an Individual Debtor's
                                                                                                             Income and Calculation of Commitment Period
      Summary of Your Assets and Liabilities         Schedules (Form 106Dec)
                                                                                                             (Form 122C-1)
      and Certain Statistical Information
      (Form 106Sum)                          121. Statement of Financial Affairs (Form 107)          o       Chapter 13 Calculation of Your Disposable
                                                     Statement of Intention for Individuals Filing           Income (Form 122C-2)
10 Schedule A/B (Form 106A/B)                   El
                                                     Under Chapter 7 (Form 108)
10 Schedule C (Form 106C)                                                                            o       Application to Pay Filing Fee in Installments
                                                      Chapter 7 Statement of Your Current                    (Form 103A)
El Schedule D (Form 106D)
                                                El
                                                      Monthly Income (Form 122A-1)
                                                                                                     ▪       Application to Have Chapter 7 Filing Fee
121 Schedule E/F (Form 106E/F)                   p    Statement of Exemption from Presumption                Waived (Form 103B)
                                                      of Abuse Under § 707(b)(2)
▪     Schedule G (Form 106G)                                                                                 A list of names and addresses of all creditors
                                                      (Form 122A-1Supp)                              El
                                                                                                             (creditor or mailing matrix)
121 Schedule H (Form 106H)
                                                 o    Chapter 7 Means Test Calculation
                                                                                                             Other
                                                      (Form 122A-2)

Bankruptcy petition preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the
documents to which this declaration applies, the signature and Social Security number of each preparer must be provided. 11 U.S.C. § 110.

X /s/ Angela D. Forte                                                      2     5      7   —    3       3    —   7    1    3    1     Date 01/21/2021
     Signature of bankruptcy petition preparer or officer, principal,     Social Security number of person who signed                      MM / DD / YYYY
     responsible person, or partner

     Angela D. Forte
     Printed name

X                                                                                                                                      Date
     Signature of bankruptcy petition preparer or officer, principal,     Social Security number of person who signed                         MM / DD / YYYY
     responsible person, or partner



     Printed name



Official Form 119                         Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                             page 2
         Case 21-50792-jwc                  Doc 1     Filed 01/26/21 Entered 01/29/21 14:14:39                              Desc
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B2800 (Form 2800) (12/15)

                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF GEORGIA
                                                    ATLANTA DIVISION

In re Henry J. Coleman, Jr.                                            Case No.

                                                                       Chapter      7
               Debtor


            DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
             [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S. C. § 110(h)(2).]

1. Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
   prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
   bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be
   paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is
   as follows:

   For document preparation services, I have agreed to accept                            $300.00
   Prior to the filing of this statement I have received                                 $300.00
   Balance Due                                                                              $0.00

2. I have prepared or caused to be prepared the following documents (itemize):
   Petition, Exhibit D, Statement of Monthly Income, Statement of Financial Affairs, Schedules A-J, Statement of Intentions,
   Summary, Matrix, Notice

   and provided the following services (itemize):


3. The source of the compensation paid to me was:
           10 Debtor                    0    Other (specify)

4. The source of compensation to be paid to me is:
              Debtor                0 Other (specify)

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition
   filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
   case except as listed below:

   NAME                                                                                 SOCIAL SECURITY NUMBER
         Case 21-50792-jwc                Doc 1       Filed 01/26/21 Entered 01/29/21 14:14:39                              Desc
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X /s/ Angela D. Forte                                                          XXX-XX-XXXX                                01/21/2021
                 Signature                                          Social Security number of bankruptcy                     Date
                                                                    petition preparer*

   Angela D. Forte, Petition Preparer                               POB 477
   Printed name and title, if any, of                               Redan, Georgia 30074
   Bankruptcy Petition Preparer                                     Address
* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal, responsible
person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure
may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
           Case 21-50792-jwc                                Doc 1          Filed 01/26/21 Entered 01/29/21 14:14:39                                                                Desc
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 Fill in this information to identify your case:                                                                                  Check one box only as directed in this
                                                                                                                                  form and in Form 122A-1Supp:
 Debtor 1                Henry                         J.                            Coleman, Jr.
                         First Name                    Middle Name                   Last Name                                ▪    1.There is no presumption of abuse.

 Debtor 2                                                                                                                     ▪    2.The calculation to determine if a presumption
 (Spouse, if filing) First Name                        Middle Name                   Last Name                                       of abuse applies will be made under Chapter 7
                                                                                                                                     Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
                                                                                                                              El 3. The Means Test does not apply now because
 Case number                                                                                                                        of qualified military service but it could apply
 (if known)                                                                                                                         later.

                                                                                                                              El Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                                              04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.

 Part 1:          Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

     p     Not married. Fill out Column A, lines 2-11.

     EI    Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

     RI Married and your spouse is NOT filing with you. You and your spouse are:

                  Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

                  Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
                  declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
                  and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

                                                                                                                                                                               u file
     Fl in the average monthly                    me that you                 ed from all rseaf              derived                                                     e            this
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                                                                                                                       'dine'
                                                                                                                            Column A                         Column B
                                                                                                                            Debtor 1                         Debtor 2 or
                                                                                                                                                             non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                                                           $2,149.68
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse                                                           $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                                                                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                                                                                  page 1
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Debtor 1     Henry J. Coleman, Jr.                                                            Case number (if known)

                                                                                                 ColLimn A      Column B
                                                                                                 Debtor 1       Debtor 2 or
                                                                                                                non-filing spouse

5.   Net income from operating a business, profession, or farm

                                            Debtor 1               Debtor 2

     Gross receipts (before all                      $0.00
     deductions)

     Ordinary and necessary operating —              $0.00     —
     expenses
                                                                                     Copy
     Net monthly income from a business,             $0.00                           here 4            $0.00
     profession, or farm

6.   Net income from rental and other real property

                                            Debtor 1               Debtor 2

     Gross receipts (before all                      $0.00
     deductions)

     Ordinary and necessary operating —              $0.00     —
     expenses
                                                                                     Copy
     Net monthly income from rental or               $0.00                           here 4            $0.00
     other real property

7.   Interest, dividends, and royalties                                                                $0.00

8.   Unemployment compensation                                                                         $0.00

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here:      40

        For you                                                               $0.00

        For your spouse

9.   Pension or retirement income. Do not include any amount received that                             $0.00
     was a benefit under the Social Security Act. Also, except as stated in the
     next sentence, do not include any compensation, pension, pay, annuity, or
     allowance paid by the United States Government in connection with a
     disability, combat-related injury or disability, or death of a member of the
     uniformed services. If you received any retired pay paid under chapter 61
     of title 10, then include that pay only to extent that it does not exceed the
     amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                           page 2
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Debtor 1      Henry J. Coleman, Jr.                                                       Case number (if known)

                                                                                             Column A         Column B
                                                                                             Debtor 1         Debtor 2 or
                                                                                                              non-filing spouse

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments made under the Federal law relating to the national emergency
    declared by the President under the National Emergencies Act
    (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against
    humanity, or international or domestic terrorism; or compensation, pension,
    pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a
    member of the uniformed services. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.

11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                    $2,149.68                                  $2,149.68
    Then add the total for Column A to the total for Column B.
                                                                                                                                    Total current
                                                                                                                                    monthly income

 Part 2:        Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

     12a.   Copy your total current monthly income from line 11                                     Copy line 11 here    4 12a.           $2,149.68

            Multiply by 12 (the number of months in a year).                                                                         X      12

     12b.   The result is your annual income for this part of the form.                                                      12b.        $25,796.16


13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                            Georgia


     Fill in the number of people in your household.                      1


     Fill in the median family income for your state and size of household                                                    13.        $52,458.00
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

     14a.         Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                  Go to Part 3. Do NOT fill out or file Official Form 122A-2.
     14b.    El Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                page 3
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Debtor 1     Henry J. Coleman, Jr.                                                           Case number (if known)

 Part 3:       Sign Below


      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



      X /s/ Henry J. Coleman, Jr.                                                 X
        Henry J. Coleman, Jr., Debtor 1                                               Signature of Debtor 2


           Date 1/21/2021                                                             Date
                MM / DD / YYYY                                                               MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                              page 4
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                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION
  IN RE:   Henry J. Coleman, Jr.                                                    CASE NO

                                                                                   CHAPTER      7


                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 1/21/2021                                          Signature   /s/ Henry J. Coleman, Jr.
                                                                    Henry J. Coleman, Jr.




Date                                                    Signature
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                      Ally Financial
                      POB 380901
                      Minneapolis, MN 55438



                      Bank of America
                      POB 982238
                      El Paso, TX 79998



                      Bortolazzo Group
                      POB 14099
                      Belfast, ME 04915



                      Georgia Department of Revenue
                      1800 Century Blvd NE
                      Atlanta, GA 30345



                      Medical Data Systems
                      2150 15th avenue
                      Vero Beach, FL 32960



                      Merrick Bank
                      POB 9201
                      Old Bethpage, NY 11804



                      NC Financial
                      175 W Jackson Blvd
                      Suite 1000
                      Chicago, IL 60604


                      Plaza Services
                      110 Hammond Drive
                      SUITE 110
                      Atlanta, GA 30328


                      Quantum Radiology
                      POB 3157
                      Indianapolis, IN 46206
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                      SE Toyota Finance
                      POB 91614
                      Mobile, AL 36691



                      Sedgefield Apartments
                      1136 East Commons
                      Marietta, GA 30062



                      Wellstar
                      POB 3475
                      Toledo, OH 43607
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01263847 (0J) OF 01/29/2021


ITEM     CODE   CASE          QUANTITY                         AMOUNT   BY

   1      7IN   21-50792              1                        $ 0.00   Check/MO
                Judge - unknown at time of receipt
                Debtor - HENRY J. COLEMAN


TOTAL:                                                         $ 0.00


FROM: Henry J. Coleman, Jr.
      Ste. 674515
      3000 Windy Hill Rd SE
      Marietta, GA 30006




                                      Page 1 of 1
                    Case 21-50792-jwc               Doc 1      Filed 01/26/21 Entered 01/29/21 14:14:39                             Desc
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   Case Number: 21-50792                                                Name: Coleman, Jr.                                          Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                           El Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                       Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                       O Last 4 digits of SSN
 El Pro Se Affidavit (due within 7 days, signature must be notarized,                      1=1 Address LI County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                       O Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                             O Chapter
                                                                                           O Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                    O Statistical Estimates
   O Statement of Financial Affairs                                                        1=1 Venue
   O Schedules: A/B C D El FGHIJ 0 J-2 (different address for Debtor 2)                    0 Attorney Bar Number
   O Summary of Assets and Liabilities
   O Declaration About Debtor(s) Schedules
                                                                                                          Case filed via:
   O Attorney Disclosure of Compensation
                                                                                       CI Intake Counter by:
   1=1 Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                           0 Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                           0 Debtor - verified ID
   O Chapter 13 Current Monthly Income
                                                                                           1=1 Other-copy of ID:
   O Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                 LI Mailed by:
   1=1 Certificate of Credit Counseling (Individuals only)                                 1=1 Attorney
   El Pay Advices (Individuals only) (2 Months)                                            1=1 Debtor
   O Chapter 13 Plan, complete with signatures (local form)                                O Other:
   1=1 Corporate Resolution (Business Ch. 7 & 11)
                                                                                       El Email [Pursuant to General Order 40-2020, this
   Ch.11 Business                                                                      petition was received for filing via email]
   El 20 Largest Unsecured Creditors
   LI List of Equity Security Holders                                                             History of Case Association
   D Small Business - Balance Sheet                                                    Prior cases within 2 years: None.
   O Small Business - Statement of Operations
   O Small Business - Cash Flow Statement
   O Small Business - Federal Tax Returns                                             Signature:
                                                                                      Acknowledgment of receipt of Deficiency Notice
   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   O Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.govionline-payments (not for chapter 13 plan payments)
        • Paid $_0.00 E 2g-Order Granting                   E 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
        • 2d-Order Denying with filing fee of $_____ due within 10 days El IFP filed (Ch.7 Individuals Only)
        l=1 No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                              All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
 Intake Clerk:                      Date: 1/29/21                     Case Opener:                                     Date:
